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6    Dallas, Texas 75201
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8
     Special Litigation Counsel for
9    Plaintiff
10                             UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
11
                                         NORTHERN DIVISION
12    In re                                        § CASE NO. 9:18-AP-01058-DS
                                                   §
13    CHANNEL TECHNOLOGIES GROUP, LLC, §
            Debtor.                                §
14
                                                   §
      CORPORATE RECOVERY ASSOCIATES,
15    LLC, as Trustee for the Liquidating Trust of
                                                   § NOTICE OF VOLUNTARY
                                                   § DISMISSAL
      Channel Technologies Group, LLC,
16                                                 §
            Plaintiff,
                                                   §
17    v.
                                                   §
      BLUE WOLF CAPITAL PARTNERS, LLC,             §
18    BLUE WOLF CAPITAL FUND II, L.P.,             §
19    GLADSTONE INVESTMENT                         §
      CORPORATION, BLUE WOLF CAPITAL               §
20    ADVISORS L.P., BW PIEZO HOLDINGS,            §
      LLC, FIDUS INVESTMENT                        §
21    CORPORATION, FIDUS MEZZANINE                 §
      CAPITAL II, L.P., AVANTE MEZZANINE           §
22    PARTNERS SBIC, LP, AVANTE                    §
23    MEZZANINE PARTNERS II, INC., PENGDI §
      HAN, DHAN, LLC, GRANT THORNTON,              §
24    LLP, CTG ADVANCED MATERIALS, LLC, §
      CTS CORPORATION, ELECTRO OPTICAL §
25    INDUSTRIES, DUFF & PHELPS, and CIT           §
      BANK, N.A.                                   §
26
            Defendants.
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            Pursuant to Federal Rule of Civil Procedure 41, Plaintiff Corporate Recovery Associates,
1

2    LLC, solely in its capacity as Trustee for the Liquidating Trust of Debtor Channel Technologies

3    Group, LLC (“Plaintiff”) hereby gives notice that the above-captioned cause is voluntarily

4    dismissed, without prejudice, against Defendant CIT Bank, N.A.
5
     Dated: December 21, 2018
6

7                                               Respectfully submitted,

8                                               /s/ Edward Jason Dennis________________
                                                Edward Jason Dennis
9
                                                jdennis@lynnllp.com
10                                              Samuel B. Hardy
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16                                              Special Litigation Counsel for
17                                              Corporate Recovery Associates, LLC,
                                                Trustee for the Liquidating Trust of
18                                              Debtor Channel Technologies Group, LLC

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                                       CERTIFICATE OF SERVICE
1
            The undersigned hereby certifies that a true and correct copy of foregoing has been served
2
     upon all counsel of record by way of electronic filing this December 21, 2018.
3

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                                                             /s/ Christian Orozco________________
5
                                                             Christian Orozco
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     NOTICE OF VOLUNTARY DISMISSAL
